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 4
                              UNITED STATES DISTRICT COURT
 5                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
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     BRETT BROOKE SONIA,                              CASE NO. 3:19-CV-5979-BHS
 7
                               Plaintiff,             ORDER ADOPTING REPORT
 8          v.                                        AND RECOMMENDATION

 9   KARIE RAINER, et al.,

10                             Defendants.

11

12          This matter comes before the Court on the Report and Recommendation (“R&R”)

13   of the Honorable David W. Christel, United States Magistrate Judge. Dkt. 44. The Court

14   having considered the R&R and the remaining record, and no objections having been

15   filed, does hereby find and order as follows:

16          (1)      The R&R is ADOPTED;

17          (2)      Pursuant to the parties’ Stipulation, Dkt. 43, the case is DISMISSED with
                     prejudice; and
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            (3)      The Clerk shall enter JUDGMENT and close this case.
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     ORDER - 1
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 1         Dated this 6th day of October, 2020.

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 4
                                             A
                                             BENJAMIN H. SETTLE
                                             United States District Judge

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     ORDER - 2
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